       Case 2:21-cr-00530-RGK Document 9 Filed 11/03/21 Page 1 of 3 Page ID #:21

                                                                   11/03/2021
1
                                                                        HC


2
3
4
5
6
7
8
                   IN THE UNITED STATES DISTRICT COURT
9
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
12                                            Case No. 2:21-mj-03882
     UNITED STATES OF AMERICA,
13                                            ORDER OF DETENTION
                       Plaintiff,
14
                  v.
15
     VLADIMIR FLORES BASURTO,
16
17                     Defendant.
18
19         On November 3, 2021, Defendant Vladimir Flores Basurto made his
20   initial appearance on the Complaint filed in this matter. Deputy Federal
21   Public Defender Howard Shneider was appointed to represent Defendant.
22         A detention hearing was held.
23         ց     On motion by the Government or on the Court’s own motion
24   [18 U.S.C. § 3142(f)(2)] in a case allegedly involving a serious risk that the
25   defendant will flee.
26         The Court concludes that the Government is not entitled to a
27   rebuttable presumption that no condition or combination of conditions will
28
       Case 2:21-cr-00530-RGK Document 9 Filed 11/03/21 Page 2 of 3 Page ID #:22



1    reasonably assure the defendant’s appearance as required and the safety or

2    any person or the community [18 U.S.C. § 3142(e)(2)].

3          The Court finds that no condition or combination of conditions will

4    reasonably assure:

5                ց the appearance of the defendant as required.

6                ց the safety of any person or the community.

7          The Court has considered the following:

8          (a) the nature and circumstances of the offense(s) charged, including

9          whether the offense is a crime of violence, a Federal crime of terrorism,

10         or involves a minor victim or a controlled substance, firearm, explosive,

11         or destructive device;

12         (b) the weight of evidence against the defendant;

13         (c) the history and characteristics of the defendant; and

14         (d) the nature and seriousness of the danger to any person or the

15         community.

16   See 18 U.S.C. § 3142(g) The Court also considered all the evidence adduced

17   at the hearing, the arguments of counsel, and the report and

18   recommendation of the U.S. Pretrial Services Agency.

19         The Court bases its conclusions on the following:

20         As to risk of non-appearance:

21               ց Defendant was born in Mexico, has family ties in Mexico, and

22   is not a United States citizen.

23               ց Defendant was officially removed from the United States in

24   December 2011 and he returned to the United States following his removal.

25   Thus, Defendant has not demonstrated a willingness to abide by court orders

26   and the Court is not convinced that he will abide by its order to appear for

27   future court appearances if released on bail. Also, if Defendant is convicted of

28   the charged offense, his prospective penalty supports a finding that release

                                            2
       Case 2:21-cr-00530-RGK Document 9 Filed 11/03/21 Page 3 of 3 Page ID #:23



1    on bail will pose a flight risk, because he likely would be deported after

2    serving the sentence imposed. The Court finds that, in conjunction with the

3    other factors noted above, this will provide an incentive to flee the

4    jurisdiction.

5          As to danger to the community:

6                ց     Defendant was convicted in December 2020 in Los Angeles

7    County Superior Court of felony lewd act upon a child under age 14 and

8    sentenced to 816 days imprisonment followed by five years’ probation.

9          It is therefore ORDERED that Defendant Vladimir Flores Basurto be

10   detained until trial. The defendant will be committed to the custody of the

11   Attorney General for confinement in a corrections facility separate, to the

12   extent practicable, from persons awaiting or serving sentences or being held

13   in custody pending appeal. The defendant will be afforded reasonable

14   opportunity for private consultation with counsel. On order of a Court of the

15   United States or on request of any attorney for the Government, the person

16   in charge of the corrections facility in which defendant is confined will deliver

17   the defendant to a United States Marshal for the purpose of an appearance in

18   connection with a court proceeding. See 18 U.S.C. § 3142(i).

19   Dated: November 3, 2021
20
21
                                  PATRICIA DONAHUE
                                    _______________________________
22                                  PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
23
24
25
26
27
28
                                             3
